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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-60863-CIV-SINGHAL

  ZEMIAO CHEN,

        Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE A,

       Defendants.
  _______________________________________/

                                  ORDER OF DISMISSAL

        THIS CAUSE came before the Court on the Notice of Voluntary Dismissal filed by

  Plaintiff Zemiao Chen (DE [94]). The Court having reviewed the Notice of Voluntary

  Dismissal and the docket, it is hereby:

        ORDERED AND ADJUDGED that this matter is DISMISSED WITHOUT

  PREJUDICE as to Defendants muzhizhidianzi, Homoney, KINBOM store, yyreach,

  Flyusa, Fumwase and Emily Wan.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 30th day of

  September 2024.




  Copies to counsel of record via CM/ECF
